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                       IN   TTIE I,]NITED STATES DISTRICT COIJRT FOR
                                                                             BECEIVED
                                 NORTI{ERN DISTRICT   OF ILLINOIS
                                                                               Auc   2t   arfu
                                                                         c..R'f ?KBEiHglggrm
JffFREY   B. COHB.I
58021-037
P0 Box 5000
Bruceton, Mil1s, Wl 26525,
      Plaintiff,
                                                        1 :18-cv-5766
v.                                                      Judge. Thontas M- Durkin
                                                        frf"di=m"t" Judge: Sheila M' FinnegBn
DAI{IH, FREED
400 tr'lest Erie
Suite   500
Chicago,      IL   60654,
      Defendant,


and


Kt RTTS PR.ODUCTIoNS, LTD.
400 tlest Erie
Suite 500
Chicago,    IL 60654,
      Defendant,


and


COMCAST CABI.E COMMI.]NICATIONS,
1701 John     F.   Kennedy Blvd.
Philadelphia, PA 19103,
      Defendant,


and


HUGH HURWIIZ
in his capacity as
ASIING DIRECTOR
FEDRAL BI.JREAU OF PRISONS
U.S. Department of Justice
320 First St., NI^l
Washington, DC 20534,
      Defendant.
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                             m,IPLAII{I     FOR   qTITAH.E RELIEF

     Plaintiff Jeffrey        pro se ("Cohen") brings this Complaint against
                             Cohen,
Defendants Daniel Freed; Kurtis Productions, Ltd.l C,orrcast Cable Conm., LLC;
and Hugh Hururitz, in his capacity as Acting Director of the Federal Bureau
of Prisons (fg0p), alleging as follows:

                                I.    NAII'RE OF     IIIE   AGITOT{


1. This action is brought, in part,    trnder the Administrative Procedures
Act, 5 U.S.C. SS ZOf et seq.; the Declaratory Judgment Act, 28 U.S.C. S ZZOL;
and the United States Constitution-{ifth Amendment; and seeks injuncLive
relief for violations of Cohenrs Constitutional guarantee of effective and
meaningful court access and for violations of his C-onstitutionally guaranteed
liberty rights.

                                           II.    PAKIIES


2.   C,ohen   is an individual       who   is currently
                                             restrained of his liberty at
a federal correctional institution in Bruceton Mills 1 IW.

3.   Freed is an individual vrtro is a television producer working for Defendant
Kurtis. Freed produces the television show "American Greedtt. Upon information
and belief, Freed is a citizen of the State of Illinois and maintains a
place of business    in    Chicago, IL.

4. Kurtis is    a media production ent,ity that owns the rights to produce
the television show "American Greedtt. Upon information and belief, Kurtis
i-s an Illinois domiciled business entity and maintains a place of business
in Chicago, IL.

5.   Comcast   is   one   of the largest media entities in the trlorld. It   owns
the NBC network of media conrpanies that includes CNBC. G'IBC broadcasts
the television show t'American Greed". Corncast is a Delaware domiciled business
entity with a place of business in Philadelphia, pA.
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6. Huntitz is an individual r*ro upon information and belief is a citizen
of the District of Coh-unbia. He is the Acting Director of the FBOP. The
FBOP is an agency of the Department of Justice. He rnaintains a place of
business     in hlashington,   DC.



                               III.    JT]RISDIGIIC{ AI{D   VENTIE



7. This action       seeks   relief
                              under the APA, 5 U.S.C. SS 701 et seq., and
the Declaratory Judgment Act, 28 u.s.c. S 2201, and the united states
Constitution. Because this action arises under the laws of the United
States, this Court has subject matter jurisdiction pursuant to 28 U.S.C.
S r:sr.

8. venue is proper in this court pursuant to 28 u.s.c. S r:gr(e) because
this is an action egainst an agency and officer of the united states, and
a substantial part of the events giving rise to the clairns alleged herein
occurred in this district.

                                      rV.   LreAL   BAST,ROUTD


9.    FBOP/DOJ,as an agency, has prorm:Igated regulations implementing rules
that govern the agency. Ttre rules discussed herein<odified into law as
federal regulations (c,r'ns), are separate tdiscretet Agency Actions. Agency
Action "includes the wtrore or part of an agency rule" (s u.s.c. $ ssr1r3;;.
Rule "means the vrtrole or part of an agency statement of general or particular
applicability and future affect designed to implement...or prescribe lanr
or policy or describing th€...procedure, or practice requirenrents of an
qgency." 5 U.S.C. S 551(4) (a11 emphasis herein added).

10.  An agencyts rules have the force and              effect of law, and ar binding
when they affect an individual's rights.


Ll.   FBOP  has promulgated rules that prohibits the access of state law material
to incarcerated individuals. See EBOP Program Statement 1315.07 at 2(d)
t'Tl:e Bureau is
                 not mandated toprovide state case 1aw and other state legal
materials.rl

                                                3
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 L2. Provided no statutory right of action exists, Agency Actions are subject
to judicial review under the APA if the actions are "final". A Rule (4gency
Action) is final if it represents the final crystalized agency position
on the matter; and if it consurnrnates the agency's decision making process.
The FBoP, under the direction of Hur:uritz, decided to enact its rules that
obstructs court access for inmates.

                                   V.    BACKGROUITD



13.        is currently incarcerated in a federal facility in tlest Virginia.
       Cohen
For reasons exPressly detailed in Appendix A and its attachments, vrtrich
are incorporated by reference as if fully stated herein, his judgment of
conviction and corresponding sentence are infirm and are being challenged
pursuant to 28 U.S.C. S ZZSS.

L4, In July 20L6, Freed contacted        Cohen to advise him that Kurtis was
dedicating an episode of American       Greed to his case. Freed stated that he
was producing "the CNBC true-crime documentary series American Greed focusing
on various cases of financially-motivated crjrne." Conrcast-as the ovrner
of the NBC network of media entities-is the broadcaster of CNBC.

15.                 detailed information to Freed showing that his judgment
       Cohen provided
was infirm. Main1y, the district court based his sentence on constitutionally
impermissible factors. At the time, Cohen's direct appeal was pending in
the Fourth Circuit.

16. In August 20t6, Freed advised Cohen that the episode was not moving
for:r^rard because of the pending appeal.


17. C,ohen's assigned public counsel failed to raise the issue of illegality
of his sentence and in April 20t8, the appellate court dismissed in part
and affirmed in part. !4!red States v. Cohen, 888 F.3d 667 (+rtr Ci.r. 2013).


18.    The issue   of illegality and the constitutionar impermissible factors,
that forms the     basis of the defamation assertions herein, was not addressed
by the circuit court.
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19. In the two-and-a-ha1f  years since Cohenfs sentencing, several civil
actions have yielded substantive new evidence that further shor.rs Cohen was
sentenced on false and inaccurate information, e.g. r In re Indemnity Insurance
Corporation, RRG In Liquidation, De. Ch., C,ase No. 85011 Indennity Insurance
Corporation, RRG V. Cohen, De. Ch., C,ase No. 8985. The false information,
and other issues, are the primary basis for Cohenfs motion to vacate the
criminal judgment pursuant to 28 U.S.C. S 2255.

20. In July 20L8t Freed advised Cohen that production was nearly complete
for an episode of American Greed based on his case and if Cohen wanted to
provide his conments for the episode, he had to pronrptly call Freed.

                           YI.    FAGIT]AL AI.^LMATTOIS


      A. Amican    Greed Episode   Is   A False Portrayal Of Cdren Aod His ConArct

2L. American Greed is a television show, produced by Kurtis and Freed, urtrich
is broadeast by CNBC.--en owned entity of Corrcast. The show, broadcast to
the public,is not news. As evidenced in Exhibit J the G{Bc/American Greed
tAboutt section of its webslte describes the show
                                                    as exploitative:

           Discover multi-million dolIar scams.. .where devious frauds
           feed deviant desires...American Greed takes you deep inside
           shocking true stories of brazen con artists who thrive on
           stealing fortunes, ruining and even taking lives...reporting
           exposes the devastating effects greed has on victims, bringing
           y9t1 up-close to heartless villians living large on other people's
           life savings...these crooked masterminds defraud the wealthy,
           rip off their own families, and scam their friends...with evil
           like this, no one is safe.

22. TLre show is comnercial speech that is not privileged. As evidenced
in its descriptive web pager it purports to report on facts, not opinion.

23.   The episode about Cohen   wiII publicize false
                                                  information and innuendo
that is contradicted by factual evidence. By way of example, the episode
will report Lhat Cohen caused the insolvency of his insurance conpany, which
led to a massive fraud on policyholders.
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24.  As shown in Appendix A, Cohenrs company was not legally insolvent pursuant
to Delaware law. Evidence shows that it hras very successful and financially
healthy with mlllions in annual profits and over $83 million in assets.
Evidence further shows that his only admitted conduct, related to policyholder
fraud, is that he misrepresented his Conrpanyts reinsurance structure to
three policyholders. See Declaration of Jeffrey Cohen (E)fiibit A of App'x A)
(detailing his actions as admitted to in the stipulated facts of his PIea
Agreement).


25.   Evidence shows that policyholders were thrilled with Cohen's Conrpany
while he operated it. A11 of the purported harm to policyholders occurred
after Cohents banishment and is directly attributable to the mismanagernent
of the Company by the court appointed Receiver. See Extribit B of App'x A
(testirnonials and affidavits of policyholders stating they were very pleased
with Cohen and his Company until the takeover by the Receiver).

26.  Evidence shows that the C,ompany was flush with cash, but since his
banishment, the Receiver has parasitically fed off of the cash reserves
without paying claims of policyholders. At the time of his banishment, the
Company had $20 million in outstanding policyholder claim liabilities but
had over $31 million in cash to meet those obligations. Since his banishnent,
the Receiver has refused topay any policyholders while paying themselves
over $10 million. See Apprx A.

27.   Thefalse claims of bankruptcy (insolvency) are not supported by fact
and will lmpugn Cohenrs job performance, wtrich as evidenced, shows he ted
the Company to extreme profitability. See E:rtribit C of App'* A (Financial
Statement showing 5 years     of profitability).

28.              will publicize private information of Cohen, his family,
      Ttre episode
and his businesses that is offensive, misleading, and not of legitimate
concerrl   to the public.

29.  Cohents substantial income was not unlawful. Evidence shows that the
prosecution produced inaccurate information during his Criminal Matter in
an attempt to g)€ggerate his conduct. See E)*dbit D of App'x A at Il 60.
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30.   Cohen'slifestyle is not a legitimate concern to the public. As recently
stated by U.S. District Judge T.S. Ellis, III in the trial of Paul Manafort-
a trial that is a legitimate concern to the public-the court blocked the
showing of information illustrating Manafort's spendi-ng habits. Ttre court
stated the information would unfairly t'besmirch the defendant"l inforrnation
related to expensive clothing, lavish homes, and luxury cars, t'engenders
resentment against rich people." Kevin Johnson, USA Today, Aide Says Manafort
Accotrnts Unkown, p. 3A, Friday Aug. 3, 2018.

      B.    Cotrenrs I^ack Of C.ourt Access Prevents Eim   Frm kotecting IIis Interests

31.   As evidenced      in Eitflbit E of  A, Cohen's facility provides an
                                           Apprx
Electronic Law Library ("ELL") where inmates are afforded restricted access
!o legaI materials,_lhe ELL consists of tqelve wglkstnliory ,Qhage<t amid
1,500 inmates) that limits access to select federal and District of Columbia
law. Ttre FJr. provides no access to state law, contains no treatises on state
civil procedures, contains no state court rules, nor is there any capability
of internet search. Ttre EIr.is constantly unavailable to Cohen because of
the arbitrary actions of the agenEs of Defendant Hur:witz.

32.   Included   in the extribit
                             referenced in ll 31 above, is an email from
the Director of Education at Cohents facility (an agent of Hunvitz) confirming
that Cohen cannot access state law rnaterials. Also included is an ernail
to the Warden of the facility (an agent of Hurvitz) in which Cohen identified
his need for court access (related to other civil actions). The Warden cited
the same regulation. Upon further request, the !,larden instructed Cohen to
take up the matter with his Unit Manager. Included in the extribit is an
email string with Cohents Unit Manager showing that his request was denied.

33.  Included in the exhibit are the administrative filings where Cohen
requests court access. His initial request was denied. He requested a review
of the denial, which was received by the Administration on October L7, 20t7.
The review was    not responded to.    Cohen requested an appeal   of the constructive
denial,    wtrich was   arbitrarily rejected.
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                                         VII.   LreAL   CX.AIMS



                              CC[rltf   I: Violation of Agercy Rule
                                         (Oefemant lfrrnvitz)


34.    Paragraphs 1-33 are incorporated by reference as             if fully set forth   herein.

35.    The FBOP      constitutes an "Agency" r*tose regulations are reviewable under
the   APA.


36. Hunpitz, as the top    exeeutive of the FBOP, is responsible for the
rules prornulgated by his Agency. The rule preventing Cohen frorn court access
is arbitrary, capricious, an abuse of discret,ion, and not in accordance with
law.


37,       denial of court access, resulting from the EBOP rule, constitutes final
       Ttre
Agency   Action that is subject to judicial review.

38. This Complaint satisfies all                procedural requirements for an action
under the     APA.


39.    Other than the        relief
                           requested, there i-s no adequate remedy                in a court for
the harm caused Cohen by the improper conduct of the Defendant.

40.        has suffered legal wrong and is damaged in his Iegal riglrts by
       Cohen
Hunritzts actions and inactions pursuant to the agency statements, laws or
policies, and procedure of the FBOP.

4L. For the reasons set forth  above, Cohen should be awarded injunctive relief
should he prevail on the merits: He has suffered irreparable injury, remedies
at law are inadequate to cornpensate for that lnjury, the balance of hardships
warrants injunctive relief, and the public i-nterest would not be disserved
by a permanent injunction.

              @(NI    II:   Obstnrc,tion or Denial      of lGaningful
                                                                 -
                                                                      Cout   Access
                                         (Oefenaant   thrrritz)
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42.     ParagraflTs 1-41 are incorporated by reference as                   if fully set forth     herein.

43.     T?re knowing intentional conduct of Hunvitz, vitrich prevents access
                             and
to state Iaw, violates Cohents rights secured under the United States C,onstitution,
Article W,          S   2,   and the   First   and   Fifth   Amendments.


44.     As an indigent         litigant without proper court access,            Cohen cannot meaningfully:
        .        know the proper elementsrin the fashion required              by state law,
to   seek       relief for his     defamation claimsl
        .        know the proper elements,           in the fashion     required by state law,
to   seek       relief for his conspiracy        claims;
        .        know the proper elements,           in the fashion required by state law,
to seek relief for the business protection claims of his sole proprietorships;
                 know the proper elements,           in the fashion   required by state law,
to seek relief for his claims of disclosure of private facts;                       and
        .        know the proper elernents,          in the fashion
                                                           required by state law,
to protect his          liberty rights against an unjustified invasion and wrongful
hurt.

45. Hurnritzts conduct has:
    a) frustrated Cohents efforts to pursue non-frivolous legal claimsl                            and

    b) hindered C-ohenrs ability to litigate by forcing him to litigate
without equal access and opportunity as those who wourd oppose him.

46.     Other than the         relief
                           requested, there is no adequate remedy                         in a court for
the harm caused Cohen by the improper conduct of the Defendant.

47.                      legal wrong and is
        cohen has suffered                                    damaged   in his legal rights   by
            I
Hurw'itz s actions and inactions.


48. For the reasons set forth above, Cohen should be awarded injunctive
relief should he prevail on the merits: He has suffered irreparable injury,
remedies at law are inadequate to compensate for that injury, the balance
of hardships warrants injunctive relief, and the public interest would not
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dissenred by a permanent injunction.

                      @Uff  III: False Liglrt Invasion of kirracy
                          (pefenaants Freed, Ikrtis, Clrcast)


49.   Paragraphs 1-48 are incorporated by reference as            if ful1y set forth herein.

50.   Defendants had     sufficient notice of the factual inconsistencies surror-mding
Cohent   s Criminal },l,atter.

51.   Thefactual information provided to Defendants shows clear reasons
to doubt the truthfulness and accuracy of the information they relied on
to produce and conmit to publicize the episode.

52.  Defendants produced and conmitted to publicize the episode             with a high
degree of awareness of probable falsity.


53.      publication of the false information irwolves misrepresentations
      Ttre
of Cohents characterrhistory, activities, and motivations. A11 of vrkrich
are highly offensive to reasonable persons.

54. 0ther than the relief  requested, there is no adequate remedy              in a court for
the harm caused Cohen by the improper conduct of the Defendants.

55.   Cohenhas suffered legal wrong and         is   darnaged   in his lega1 rights   by
Defendants aeti-ons and inactions.


56. For the reasons set forth above, Cohen should be awarded injunctive
relief should he prevail on the merits: He has suffered irreparable injury,
remedies at law are inadequate to compensate for that injury, the balance
of hardships warrants injunctive relief, and the public interest would not
be disserved by a permanent injunction.

                             mNI W: Aidirg and Abettfutg
                          (netenaants Freedr-Krrtis, Cmist)


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57.   Paragraphs 1-56 are incorporated by reference as         if fuly set forth herein.

58.   The Defendants acted knowingly      to produce an episode that poptrays
Cohen   in a false light   based   on false information.

59. Ihe Defendants intentionally  created a media platform to exploit and
sensationalize conmercial speech. T?re media platform assists the publication
of the false information that harms C.ohen.

60.   Other than the   rellef
                           requested, there is no adequate remedy in a court for
the harm caused Cohen by the irnproper conduct of the Defendants.

51.   Cohenhas suffered legal wrong and       is   dannged   in his lega1 rights by
Defendants actions and inactions.


62. For the reasons set forth above, Cohen should be awarded injurctive
relief should he prevail on the merits: He has suffered irreparable injury,
remedies at law are inadequate to cornpensate for that injury, the balance
of hardships warrants injunctive relief, and the public interest would not
be disseryed by a permanent injunction.

                                vfrr.   RELrm R4lJEsfm

      WI{EREFORE,                          in favor of Cohen against Defendants,
                    judgment should be entered
jointly and severally, and the Court should grant the following relief:

      a) an order and judgment declaring the FBOP regulation restricting
Cohents court access is violative of his Constitutional rights;


      b) an order and judgment declaring the FBOP regulation restricting
Cohents court aceess prevents him from meaningfully protecting his interestsl


      c)   an order and judgment enjoining the      further obstruction of   access
to   state law materials;



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        d)     an order and judgment declaring the conduct of Defendants Freed,
    Kurtis,   and Corrcast has placed Cohen in a false light in the public eye;


         e)  an order and and judgment enjoining the American Greed publication
    containing false and misleading information about Cohen and his businessesl and

         f)    any other   relief   as may be   just   and proper.l




/       tu
    Respectfully submitted on August t7, 20L8,


    Jeffrey
    58021-037
              Cohen
    Plaintiff, pro se
    P0 Box 5000
    Bruceton Mi11s, WV 26525




    1   A noticr: fa prelimirqr injucticn is beirg s'fud.tted al.crg with this Corplaint. the
        noticn reqrsts injurtirre relief in tlE fcnsn of ar crde             the p.blicatiat
        of ttre Amictrr Greed qisode tntil srh Line that Cdlsr lE aklnte ad neadrgful
        &ce&s to fte ccrnt to presert his daiIIE.



                                                12
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                                     VERIETCArIOI


     The undersigned, being a pro se         litigant, affirms the follordng   under
the penalty of perjury:

     That I am the pro se litigant in the within action. That I have read and
know the contents of the foregoing Complaint and attached docunents and that
the same its true to my own knowledge.

      Ttris verification   is   based upon information personally known   to myself.
The   facts stated within the Complaint are true     and correct.


          Bruceton }tills, W
          August t7, 20Lg



Jeffrey   Cohen




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